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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 VALMONT, INC.,                                               :
                                              Plaintiff,      :
                                                              :   21 Civ. 7223 (LGS)
                            -against-                         :
                                                              :        ORDER
 KONTOOR BRANDS, INC., et al.,                                :
                                              Defendants. :
                                                              :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Order dated September 15, 2021, scheduled a conference for November

4, 2021, at 10:50 a.m. It is hereby

        ORDERED that the November 4, 2021, conference is rescheduled to November 4, 2021,

at 10:15 a.m. The conference will be held on conference line: 888-363-4749, access code: 558-

3333. The parties shall be prepared to discuss Defendants’ proposed motion to dismiss at the

conference.

Dated: November 2, 2021
       New York, New York
